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                                        APPENDIX A
               Federal Decisions Dismissing Actions Inv olving Fo reign
             Aviation Accidents for Fo rum No n Conveniens, 1980-present

                                   Supreme Co urt Decisions

Piper Aircraft v. Reyno, 454 U.S. 235 (1981) (forum non conveniens dismissal of claims arising
from airplane crash in Scotland in favor of litigation in Scotland)

                                    Circuit Court Decisions

In re Air Crash over the S. Indian Ocean on Mar. 8, 2014, 946 F.3d 607 (D.C. Cir. 2020)
(affirming forum non conveniens dismissal of claims arising from the disappearance of airplane
in the Indian Ocean in favor of litigation in Malaysia), aff’g In re Air Crash Over S. Indian
Ocean, 352 F. Supp. 3d 19 (D.D.C. 2018)

Kolawole v. Sellers, 863 F.3d 1361 (11th Cir. 2017) (affirming forum non conveniens dismissal
of claims arising from airplane crash near Murtala Muhammed Airport in Nigeria in favor of
litigation in Nigeria), aff’g Onita-Olojo v. Sellers, 2014 WL 1319304 (S.D. Fla. Mar. 31, 2014)

Fortaner v. Boeing Co., 504 F. App’x 573 (9th Cir. 2013) (affirming forum non conveniens
dismissal of claims arising from airplane crash in Spain in favor of litigation in Spain), aff’g In re
Air Crash at Madrid, Spain, on Aug. 20, 2008, 893 F. Supp. 2d 1020 (C.D. Cal. 2011)

Galbert v. W. Caribbean Airways, 715 F.3d 1290 (11th Cir. 2013) (affirming forum non
conveniens dismissal of claims arising from airplane crash in Venezuela in favor of litigation in
Martinique), aff’g In re W. Caribbean Airways, 2012 WL 1884684 (S.D. Fla. May 16, 2012)

Tazoe v. Airbus S.A.S., 631 F.3d 1321 (11th Cir. 2011) (affirming forum non conveniens
dismissal of all claims arising from airplane crash in Sao Paulo in favor of litigation in Brazil
except for one claim dismissed by district court sua sponte before that plaintiff could be heard on
forum non conveniens), aff’g in part Tazoe v. Aereas, 2009 WL 3232908, at *2–3 (S.D. Fla. Aug.
24, 2009)

Francois ex rel. Est. of Francois v. Hartford Holding Co., 424 F. App’x 138 (3d Cir. 2011)
(affirming forum non conveniens dismissal of claims arising from airplane crash in the West
Indies in favor of litigation in Dominica)

Lleras v. Excelaire Servs. Inc., 354 F. App’x 585 (2d Cir. 2009) (affirming forum non
conveniens dismissal of claims arising from airplane crash in the Amazon rainforest in favor of
litigation in Brazil), aff’g In re Air Crash Near Peixoto de Azeveda, Brazil, on Sept. 29, 2006,
574 F. Supp. 2d 272 (E.D.N.Y. 2008)

Pierre-Louis v. Newvac Corp., 584 F.3d 1052 (11th Cir. 2009) (affirming forum non conveniens
dismissal of claims arising from airplane crash in Venezuela in favor of litigation in Martinique),
aff’g In re West Caribbean Airways, S.A., 619 F. Supp. 2d 1299 (S.D. Fla. 2007)
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King v. Cessna Aircraft Co., 562 F.3d 1374 (11th Cir. 2009) (affirming forum non conveniens
dismissal of claims arising from airplane crash in Milan in favor of litigation in Italy), aff’g King
v. Cessna Aircraft Co., 2008 WL 276015 (S.D. Fla. Jan. 31, 2008)

Clerides v. Boeing Co., 534 F.3d 623 (7th Cir. 2008), aff’g In re Air Crash Near Athens, Greece
on Aug. 14, 2005, 479 F. Supp. 2d 792 (N.D. Ill. 2007) (affirming forum non conveniens
dismissal of claims arising from airplane crash near Athens in favor of litigation in Greece)

Van Schijndel v. Boeing Co., 263 F App’x 555 (9th Cir. 2008) (affirming forum non conveniens
dismissal of claims from airplane crash in Taipei, Taiwan in favor of litigation in Singapore),
aff’g Van Schijndel v. Boeing Co., 434 F. Supp. 2d 766 (C.D. Cal. 2006)

Lueck v. Sundstrand Corp., 236 F.3d 1137 (9th Cir. 2001) (affirming forum non conveniens
dismissal of claims arising from airplane crash in New Zealand in favor of litigation in New
Zealand)

Satz v. McDonnell Douglas Corp., 244 F.3d 1279 (11th Cir. 2001) (affirming forum non
conveniens dismissal of claims arising from airplane crash near Nuevo Berlin, Uruguay in favor
of litigation in Argentina)

Leon v. Millon Air, Inc., 251 F.3d 1305 (11th Cir. 2001) (affirming with conditions forum non
conveniens dismissal of claims arising from airplane crash near Manta, Ecuador in favor of
litigation in Ecuador)

Gschwind v. Cessna Aircraft Co., 161 F.3d 602 (10th Cir. 1998) (affirming forum non
conveniens dismissal of claims arising from airplane crash near Cannes in favor of litigation in
France)

Magnin v. Teledyne Cont’l Motors, 91 F.3d 1424 (11th Cir. 1996) (affirming forum non
conveniens dismissal of claims arising from airplane crash in France in favor of litigation in
France)

Phillips v. China Airlines, Ltd., 985 F.2d 573 (9th Cir. 1993) (affirming forum non conveniens
dismissal of claims arising from airplane crash in Taiwan in favor of litigation in Taiwan)

De Aguilar v. Boeing Co., 11 F.3d 55 (5th Cir. 1993) (affirming forum non conveniens dismissal
of claims against arising from airplane crash in Mexico in favor of litigation in Mexico), aff’g
Torreblanca de Aguilar v. Boeing Co., 806 F. Supp. 139 (E.D. Tex. 1992)

Baumgart v. Fairchild Aircraft Corp., 981 F.2d 824 (5th Cir. 1993) (affirming forum non
conveniens dismissal of claims arising from airplane crash near Kettwig, Germany in favor of
litigation in Germany), aff’g Baumgart v. Fairchild Aircraft Corp., 1991 WL 487242 (W.D. Tex.
Sept. 30, 1991)

Nolan v. Boeing Co., 919 F.2d 1058 (5th Cir. 1990) (affirming forum non conveniens dismissal
of claims arising from airplane crash in England in favor of litigation in the United Kingdom),
aff’g Nolan v. Boeing Co., 762 F. Supp. 680 (E.D. La. 1989)



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Zipfel v. Halliburton Co., 832 F.2d 1477 (9th Cir. 1987) (affirming forum non conveniens
dismissal of claims arising from airplane crash at Simpang Tiga Airport in Indonesia in favor of
litigation in Indonesia), amended on other grounds, 861 F.2d 565 (9th Cir. 1988)

Kryvicky v. Scandinavian Airlines System, 807 F.2d 514 (6th Cir. 1986) (affirming forum non
conveniens dismissal of claims arising from airplane crash near Madrid in favor of litigation in
Spain)

Ahmed v. Boeing Co., 720 F.2d 224 (1st Cir. 1983) (affirming conditional forum non conveniens
dismissal of claims arising from airplane crash near Jeddah, Saudi Arabia in favor of litigation in
Saudi Arabia or Pakistan)

Cheng v. Boeing Co., 708 F.2d 1406 (9th Cir. 1983) (affirming forum non conveniens dismissal
of claims arising from airplane crash in Taiwan in favor of litigation in Taiwan), aff’g Nai-Chao
v. Boeing Co., 555 F. Supp. 9 (N.D. Cal. 1982)

Miskow v. Boeing Co., 664 F.2d 205 (9th Cir. 1981) (affirming forum non conveniens dismissal
of claims arising from airplane crash at Cranbrook Airport in Canada in favor of litigation in
Canada)

Pain v. United Tech. Corp., 637 F.2d 775 (D.C. Cir. 1980) (affirming forum non conveniens
dismissal of claims arising from helicopter crash in the North Sea off the coast of Norway in
favor of litigation in Norway), overruled in part Piper Aircraft v. Reyno, 454 U.S. 235 (1981)

Dahl v. United Tech. Corp., 632 F.2d 1027 (3d Cir. 1980) (affirming forum non conveniens
dismissal of claims arising from helicopter crash in the North Sea off the coast of Norway in
favor of litigation in Norway)

                                   District Court Decisions

Siswanto v. Airbus Americas, Inc., 2016 WL 7178460 (N.D. Ill. Dec. 9, 2016) (dismissal under
forum non conveniens of claims arising from airplane crash in the Java Sea near Borneo,
Indonesia in favor of litigation in Indonesia)

Harp v. Airblue Ltd., 879 F. Supp. 2d 1069 (C.D. Cal. 2012) (dismissal under forum non
conveniens of claims arising from airplane crash near Islamabad, Pakistan in favor of litigation in
Pakistan)

In re Air Crash Over the Mid-Atlantic on June 1, 2009, 760 F. Supp. 2d 832 (N.D. Cal. 2010)
(dismissing under forum non conveniens claims arising from airplane crash in the Atlantic Ocean
(en route from Rio de Janeiro to Paris) in favor of litigation in France); see also In re Air Crash
Over the Mid-Atlantic, 792 F. Supp. 2d 1090 (N.D. Cal. 2011) (dismissing re-filed claims under
forum non conveniens)

In re Air Crash Disaster Over Makassar Strait, 2011 WL 91037 (N.D. Ill. Jan. 11, 2011)
(dismissing under forum non conveniens claims arising from disappearance of airplane over
Makassar Strait, en route from Java to Sulawesi in favor of litigation in Indonesia)



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Pettitt v. Boeing Co., 2010 WL 3861066 (N.D. Ill. Sept. 28 2010) (dismissing under forum non
conveniens claims arising from airplane crash near Douala, Cameroon in favor of litigation in
Cameroon); see also Claisse v. Boeing Co., 2010 WL 3861073 (N.D. Ill. Sept. 28, 2010) (same);
Patricia v. Boeing Co., 2010 WL 3861077 (N.D. Ill. Sept. 28, 2010) (same)

Can v. Goodrich Pump & Engine Control Systems, Inc., 711 F. Supp. 2d 241 (D. Conn. 2010)
(dismissing under forum non conveniens claims arising from helicopter crash in Antalya, Turkey
n favor of litigation in Turkey)

Vorbiev v. McDonnell Douglas Helicopters, Inc., 2009 WL 1765675 (N.D. Cal. June 18, 2009)
(dismissing under forum non conveniens claims arising from helicopter crash in Uvat, Tyumen in
the Russian Federation in favor of litigation in Russia)

Navarrete De Pedrero v. Schweizer Aircraft Corp., 635 F. Supp. 2d 251 (W.D.N.Y. 2009)
(dismissing under forum non conveniens claims arising from helicopter crash in Cuidad Juarez,
Mexico in favor of litigation in Mexico)

Melgares v. Sikorsky Aircraft Corp., 613 F. Supp. 2d 231 (D. Conn. 2009) (dismissing under
forum non conveniens claims arising from helicopter crash near Tenerife, Spain in favor of
litigation in Spain)

Esheva v. Siberia Airlines, 499 F. Supp. 2d 493 (S.D.N.Y. 2007) (dismissing under forum non
conveniens claims arising from airplane crash in Moscow in favor of litigation in Russia)

In re Air Crash Near Athens, Greece on Aug. 14, 2005, 479 F. Supp. 2d 792 (N.D. Ill. 2007)
(dismissing under forum non conveniens claims arising from airplane crash near Athens, Greece
in favor of litigation in Cyprus or Greece)

Da Rocha v. Bell Helicopter Textron, Inc., 451 F. Supp. 2d 1318 (S.D. Fla. 2006) (dismissing
under forum non conveniens claims arising from helicopter crash in the Amazon rainforest in
Brazil in favor of litigation in Brazil)

Gambra v. Int’l Lease Fin. Corp., 377 F. Supp. 2d 810 (C.D. Cal. 2005) (dismissing under forum
non conveniens claims arising from airplane crash in the Red Sea (en route to Paris) in favor of
litigation in France)

Faat v. Honeywell Int’l, Inc., 2005 WL 2475701 (D.N.J. Oct. 5, 2005) (dismissing under forum
non conveniens claims arising from mid-air collision of airplanes over Überlingen, Germany
(one en route from Moscow to Barcelona) in favor of litigation in Spain)

In re Air Crash Over Taiwan Straits on May 25, 2002, 331 F. Supp. 2d 1176 (C.D. Cal. 2004)
(dismissing under forum non conveniens claims arising from airplane crash in Taiwanese waters
(en route from Taipei to Hong Kong) in favor of litigation in Taiwan)

Zermeno v. McDonnell Douglas Corp., 246 F. Supp. 2d 646 (S.D. Tex. 2003) (dismissing under
forum non conveniens claims arising from airplane crash in Reynosa, Mexico in favor of
litigation in Mexico)



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Helog Ag v. Kaman Aerospace Corp., 228 F. Supp. 2d 91 (D. Conn. 2002) (dismissing under
forum non conveniens claims arising from helicopter crash in Germany in favor of litigation in
Germany)

Kern v. Jeppesen Sanderson, Inc., 867 F. Supp. 525 (S.D. Tex. 1994) (dismissing, in part under
forum non conveniens, claims arising from two different airplane crashes northeast of
Kathmandu, Nepal, in favor of litigation in Nepal, Pakistan, Thailand, Germany, Great Britain,
the Netherlands, or Spain)

Martino v. Viacao Aerea Riograndese, 1991 WL 13886 (E.D. La. 1991) (dismissing under forum
non conveniens claims arising from airplane crash in the Amazon rainforest in favor of litigation
in Brazil)

Jennings v. Boeing Co., 660 F. Supp. 796 (E.D. Pa.), order amended on denial of
reconsideration, 677 F. Supp. 803 (E.D. Pa. 1987), aff’d, 838 F.2d 1206 (3d Cir. 1988)
(dismissing under forum non conveniens claims arising from helicopter crash off the coast of
Scotland in favor of litigation in England or Scotland)

Chhawchharia v. Boeing Co., 657 F. Supp. 1157 (S.D.N.Y. 1987) (dismissing under forum non
conveniens claims arising from airplane crash near Tokyo, Japan in favor of litigation in India)

Rubenstein v. Piper Aircraft Corp., 587 F. Supp. 460 (S.D. Fla. 1984) (dismissing under forum
non conveniens claims arising from airplane crash in West Germany in favor of litigation in
West Germany)

In re Air Crash Disaster Near Bombay, India on Jan. 1, 1978, 531 F. Supp. 1175 (W.D. Wash.
1982) (dismissing under forum non conveniens claims arising from airplane crash in the Amazon
rainforest in favor of litigation in Brazil).

In re Disaster at Riyadh Airport, Saudi Arabia, on Aug. 19, 1980, 540 F. Supp. 1141 (D.D.C.
1982) (dismissing under forum non conveniens claims arising from in-flight fire of airplane near
Riyadh, Saudi Arabia in favor of litigation in Saudi Arabia or the plaintiffs’ separate domiciles)

Grodinsky v. Fairchild Industries, Inc., 507 F. Supp. 1245 (D. Md. 1981) (dismissing under
forum non conveniens claims arising from airplane crash in Quebec, Canada in favor of litigation
in Canada)

Fosen v. United Tech. Corp., 484 F. Supp. 490 (S.D.N.Y.), aff’d, 633 F.2d 203 (2d Cir. 1980)
(dismissing under forum non conveniens claims arising from helicopter crash in the North Sea
off the cost of Norway in favor of litigation in Norway)




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